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                                      UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF FLORIDA

                                      CASE NO.: 16-24702-Civ-KING
                                      CASE NO.: 14-20072-Civ-KING
                                      CASE NO.: 09-20264-Cr-KING
                                      MAGISTRATE JUDGE PATRICK A. WHITE
 NIKO CANCIO THOMPSON,

       Movant,                                REPORT RE DISMISSAL
                                             FOR FAILURE TO OBTAIN
 v.                                        AUTHORIZATION PURSUANT TO
                                             28 U.S.C. §2244(b)(3)
 UNITED STATES OF AMERICA,

       Respondent.
                                /


                                I. Introduction


       The movant, a federal prisoner, currently confined at the
 United States Penitentiary in Coleman, Florida, has filed this pro
 se motion for relief from judgment, pursuant to Fed.R.Civ.P. 60,
 which is in legal effect, an unauthorized successive §2255 motion
 to vacate. The motion was filed by the movant in his initial motion
 to vacate proceeding filed with this court, and assigned case
 no. 14-20072-Civ-King.


       This    Cause   has    been   referred     to   the   Undersigned      for
 consideration and report pursuant to 28 U.S.C. §636(b)(1)(B),(C);
 S.D.Fla. Local Rule 1(f) governing Magistrate Judges, S.D. Fla.
 Admin. Order 2003-19; and, Rules 8 and 10 Governing Section 2255
 Cases in the United States District Courts. No order to show cause
 has been issued because, on the face of the petition, it is evident
 the petitioner is entitled to no relief. See Rule 4,1 Rules

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        Rule 4 of the Rules Governing Section 2255 Petitions, provides, in
 pertinent part, that "[I]f it plainly appears from the petition and any attached
 exhibits that the petitioner is not entitled to relief in the district court, the
 judge must dismiss the petition and direct the clerk to notify the
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 Governing Section 2255 Proceedings.


       The Court has reviewed the movant's motion (Cv-DE#1), together
 with all pertinent portions of the underlying criminal file, as
 well as, the movant’s prior §2255 motion, assigned case nos. 14-
 20072-Civ-King.2


                       II. Brief Procedural History


       This court, recognizing that movant is pro se, afforded him
 liberal construction pursuant to Haines v. Kerner, 404 U.S. 419
 (1972). In his motion, the movant suggests that the government
 and/or his court-appointed counsel committed ?fraud, misrepresenta-
 tion, or misconduct,” when they informed the court that movant's
 prior state court conviction, entered in Miami-Dade County Circuit
 Court, case no. F97-34123, was based on a ?guilty plea,” as opposed
 to, a ?no contest plea.” (Cv-DE#1:2).


       In support thereof, he has attached to his motion, a copy of
 an Order from the state trial court denying a Rule 3.850 motion for
 post-conviction relief, which reveals in pertinent part, that
 ?[T]he defendant pled no contest to the charge of Aggravated
 Assault with a Deadly Weapon and Battery...,” at which time he
 ?received a withhold of adjudication and was sentenced to one year
 of reporting probation.” (Cv-DE#1:9-Rule 3.850 Order of 8/10/16).
 He suggests the court therein noted that the movant had pleaded ?no
 contest,” that the parties made a material misrepresentation which
 may have affected the outcome of the initial §2255 proceeding. In


 petitioner...."
       2
         The undersigned takes judicial notice of its own records as contained on
 CM/ECF in those proceedings. See Fed.R.Evid. 201.

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 turn, he suggests that this misrepresentation somehow precluded the
 movant from fully presenting to the court his claim regarding
 counsel's deficiency during plea negotiations. (Cv-DE#1:5).


       It, therefore, appears that the movant seeks vacatur of his
 convictions and sentences entered in 09-20264-Cr-King, on the basis
 that there was a defect in the integrity of his initial §2255
 motion to vacate proceeding mentioned above. (Id.). As will be
 recalled, an evidentiary hearing was conducted in movant's initial
 §2255 proceeding, and a Report recommending that the motion be
 denied on the merits was adopted by Order entered on April 17,
 2015. (14cv20072-DE#34). Movant appealed, and the Eleventh Circuit
 Court of Appeals in a 12-page written opinion denied movant's
 motion for a certificate of appealability because ?reasonable
 jurists could not find debatable the district court's resolution of
 the claims...” (Id.-DE#43).


       Therefore, contrary to the movant's representations before
 this court, the pleading he is relying upon from the state court is
 not the final judgment entered in case no. F97-34123. In fact, a
 certified copy of the finding of guilty entered in the state court
 case referenced above reveals that, the movant did, in fact, enter
 ?a guilty plea.” Therefore, his suggestion that his plea was, as
 represented in a post-conviction order, as a result of a no contest
 plea, is belied by the record. In fact, it may well be that the
 state post-conviction court in its order made a typographical
 error.    Here,   movant   has   not   demonstrated   that   any   fraud   or
 misrepresentation has been perpetrated by either the government or




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 movant's counsel, as suggested herein.3


                                 III. Discussion


                            A.    Rule 60(d) Motion


       As a Rule 60(d) motion, the movant is not entitled to the
 relief requested. Federal Rule of Civil Procedure 60(d)(1) allows
 a court to “entertain an independent action to relieve a party from
 a judgment, order, or proceeding,” notwithstanding Rule 60's other
 provisions. When a defendant brings a Rule 60 motion, “the district
 court may appropriately construe it as a §2255 motion, and, if
 applicable, treat it as an unauthorized second or successive
 motion.” Galatolo v. United States, 394 Fed. Appx. 670, 671 (11th
 Cir. 2010) (citing Williams v. Chatman, 510 F.3d 1290, 1293–95
 (11th Cir. 2007)); see also Galatolo v. United States, 196 Fed.
 Appx.     854,   857   (11th    Cir.   2006)    (“[T]he    general    rule    is
 well-established that a collateral attack upon a federal conviction
 and sentence must be brought pursuant to § 2255.”); see also, Gupta
 v. U.S. Atty. Gen'l, 556 Fed.Appx. 838 (11th Cir. 2014).


       Where, in a Rule 60 motion, a petitioner challenges the
 validity of his conviction or sentence by “seek[ing] to add a new
 ground for relief” or “attack[ing] the federal court's previous
 resolution of a claim on the merits,” the motion is properly
 construed as a §2255 motion. See Williams, 510 F.3d at 1293–94
 (quoting Gonzalez v. Crosby, 545 U.S. 524, 532, 125 S.Ct. 2641,


       3
        By separate Order the undersigned is filing a copy of the state court
 Finding of Guilt and Order Withholding Adjudicating and Special Conditions, which
 can also be found on the court's on-line docket in the underlying criminal case,
 09-20264-Cr-King, at DE#230-1. Moreover, the undersigned is also filing a copy
 of the state court docket in case no. F97-34123.

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 2648, 162 L.Ed.2d 480 (2005)); see also Gilbert v. United States,
 640 F.3d 1293, 1323 (11th Cir. 2011); see also United States v.
 Winston, 346 Fed. Appx. 520, 522 (11th Cir. 2009). If construed as
 a second or successive §2255 motion, absent an order from the
 Eleventh Circuit authorizing the successive motion, the district
 court lacks subject matter jurisdiction. See Williams, 510 F.3d at
 1295.


       In this latest proceeding, petitioner is not entitled to Rule
 60(b) motion for relief because he has not demonstrated that there
 was a fundamental defect in his initial §2255 proceedings. For the
 reasons    previously      stated,    this     motion    is,   in   legal   effect,
 movant's    attempt   to    seek     vacatur    and     reconsideration     of   his
 convictions and sentences without first obtaining permission from
 the Eleventh Circuit. This he cannot do.


       Under Gonzalez, the Rule 60 motion is properly construed as a
 second or successive §2255 motion. Because petitioner has not
 obtained an order authorizing such a petition, it must be dismissed
 for lack of subject matter jurisdiction. See, e.g., United States
 v. Cone, 525 Fed.Appx. 823, 825 (10th Cir. 2013) (affirming the
 district court's treatment of Rule 60(d) motion as a second or
 successive §2255 motion and dismissal for lack of jurisdiction
 where the defendant failed to obtain prior authorization from court
 of appeals); Maye v. United States, 2010 WL 4279405 (M.D.Fla. Oct.
 25, 2010) (dismissing for lack of jurisdiction upon finding that
 the “complaint/motion pursuant to Rule 60(d)(1) [was] effectively
 a second or successive claim for relief under Section 2255 for
 which Petitioner must apply to the Eleventh Circuit for permission
 to raise in this Court”). Accordingly, the motion, to the extent
 treated as a Rule 60 motion in the initial §2255 proceeding, should


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 be dismissed.


                     B.   Unauthorized Successive 2255


       As a second §2255 motion, the motion is also subject to
 dismissal. As previously narrated, a review of the records of this
 court establishes that movant filed a prior collateral attack to
 the constitutionality of his criminal convictions and sentences,
 properly opened as motions to vacate, pursuant to the provisions of
 28 U.S.C. §2255, and which is also the subject of attack in this
 proceeding. See Thompson v. United States, Case No. 14-20072-Civ-
 King (S.D. Fla. 2014). It was denied on the merits following an
 evidentiary hearing, and that denial was subsequently affirmed on
 appeal.


       In this latest 2016 proceeding, he again challenges the
 constitutionality of his convictions and sentences, claiming that
 he is actually innocent of the charged offenses and resulting
 sentences.    “[B]efore    a   second       or   successive   application    is
 permitted by this section is filed in the district court, the
 applicant shall move in the appropriate court of appeals for an
 order authorizing the district court to consider the application.”
 See 28 U.S.C. §2244(b)(3)(A); Felker v. Turpin, 518 U.S. 651
 (1996); In re Medina, 109 F.3d 1560 (11th Cir. 1997). “A motion in
 the court of appeals for an order authorizing the district court to
 consider a second or successive application shall be determined by
 a three-judge panel of the court of appeals” and may be granted
 “only if     [the   assigned   panel    of   judges]   determines   that    the
 application makes a prima facie showing that the application
 satisfies the requirements of [28 U.S.C. §2244(b)(2)].” See 28
 U.S.C. §2244(b)(3)(B) and (C).


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       A federal prisoner can file a second or successive §2255
 motion if that motion is the result of new evidence of innocence or
 of a new rule of constitutional law made retroactive to cases on
 collateral    review   by    the   U.S.    Supreme    Court.   See   28    U.S.C.
 §2255(h)(1)-(2). A second or successive petition, however, must be
 certified by the court of appeals to contain newly discovered
 evidence or a new rule of constitutional law. See Id., See also
 United States v. Bell, 447 Fed.Appx. 116 (11th                  Cir. Nov. 18,
 2011)(unpublished decision) (stating that appellant's “Motion for
 Clarification”—in which he claimed that district court lacked
 jurisdiction     to   impose    his   mandatory      life   sentences     because
 government's 21 U.S.C. §851 notice of sentence enhancement was
 defective—“is properly construed as a motion to vacate under 28
 U.S.C. §2255,” over which the district court lacked jurisdiction
 because appellant “had already filed a §2255 motion” and had not
 obtained authorization from the Eleventh Circuit to file another
 one).


       Here, the movant's 2014 motion to vacate proceeding, assigned
 case no. 14-20072-Civ-King constituted          adjudication on the merits
 for purposes of invoking the second or successive requirements of
 28 U.S.C. §2244(b)(3). Thus, the            movant’s only remedy lies in
 filing an application with the Eleventh Circuit Court of Appeals
 seeking leave to file a successive §2255 motion. The movant has not
 demonstrated here that he has done so, nor does not allege that he
 obtained the requisite permission from the Eleventh Circuit Court
 of Appeals prior to filing this petition. This failing operates as
 a   jurisdictional     bar     that   precludes      this   district      court's
 consideration of the merits of the instant petition. See 28 U.S.C.
 §2244(b)(3)(A); Fugate v. Dep't of Corr's, 301 F.3d 1287, 1288 (11th
 Cir.), cert. den'd, 536 U.S. 980 (2002).


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       As noted previously, the movant has previously filed a prior
 §2255    motion.     Therefore,         he   is    now   required    to     secure    the
 permission of the Eleventh Circuit before this Court can consider
 this latest motion. See Ramos v. Warden, FCI Jesup, 502 Fed.Appx.
 902, 904 (11th Cir. 2012). Specifically, 28 U.S.C. §2255(h) provides
 that "[a] second or successive motion must be certified...by a
 panel of the appropriate court of appeals." Farris v. United
 States, 333 F.3d 1211, 1216 (11th Cir. 2003). There is no indication
 that movant has done so here. As such, movant’s §2255 motion should
 be   dismissed     for    lack     of    jurisdiction.       See   United    States   v.
 Mosqueda,     2013       WL    4493581,       at    *2    (N.D.     Fla.     Aug.     19,
 2013)(dismissing a petitioner’s §2255 motion based in part on
 Alleyne for failing to seek permission from the court of appeals to
 file a second §2255 motion).


       While movant’s challenge to his convictions and sentences may
 be cognizable under an initial 28 U.S.C. §2255(a), he has already
 filed, and had denied on the merits, a prior motion to vacate
 pursuant to 28 U.S.C. §2255. Therefore, the instant motion is
 clearly successive, subject to dismissal for his failure to seek
 authorization from the Eleventh Circuit to file another §2255
 motion. See United States               v. Searcy, 448 Fed.Appx. 984 (11th Cir.
 2011), cert. den'd, __ U.S. __, 132 S.Ct. 2784 (2012)(citing, 28
 U.S.C. §2255(h)).


       Further,     even       if   movant    had    sought    permission      from    the
 Eleventh Circuit to file a successive §2255 motion, his claim fails
 to meet the statutory criteria permitting a second habeas petition.
 A circuit court of appeals may only allow such a motion when it
 contains:




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             (1) newly discovered evidence that, if proven
             and viewed in light of the evidence as a
             whole, would be sufficient to establish by
             clear   and  convincing   evidence  that   no
             reasonable factfinder would have found the
             movant guilty of the offense; or

             (2) a new rule of constitutional law, made
             retroactive to cases on collateral review by
             the Supreme Court, that was previously
             unavailable.

 28 U.S. §2255(h).


       Thus, this Court lacks jurisdiction to consider movant’s
 present motion because it is a second or successive motion under
 §2255. See Hill v. Hopper, 112 F.3d 1088, 1089 (11th Cir. 1997). As
 such, movant must obtain an order from the Eleventh Circuit Court
 of Appeals authorizing this Court to consider the motion. 28 U.S.C.
 §§2244(b)(3), 2255(h).


       If the movant intends to pursue this case, he should forthwith
 apply to the United States Eleventh Circuit Court of Appeals for
 the authorization required by 28 U.S.C. §2244(b)(3)(A). See Cate v.
 Ayers, 2001 WL 1729214, *3 (E.D.Cal. 2001)(holding that the law is
 clear that a dismissal based on the statute of limitations is an
 adjudication on the merits of the claim). The movant will be
 provided with a form to apply for such authorization with this
 report.


                    IV.   Certificate of Appealability


       As amended effective December 1, 2009, §2255 Rule 11(a)
 provides    that   “[t]he    district       court   must   issue   or   deny   a
 certificate of appealability (“COA”) when it enters a final order

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  adverse to the applicant,” and if a certificate is issued “the
  court must state the specific issue or issues that satisfy the
  showing required by 28 U.S.C. §2253(c)(2).” See Rule 11(a), Rules
  Governing Section 2255 Proceedings for the United States District
  Courts. A §2255 movant “cannot take an appeal unless a circuit
  justice or a circuit or district judge issues a certificate of
  appealability under 28 U.S.C. §2253(c).” See Fed.R.App.P. 22(b)(1).
  Regardless, a timely notice of appeal must still be filed, even if
  the court issues a certificate of appealability. See 28 U.S.C.
  §2255 Rule 11(b).



         However, “[A] certificate of appealability may issue ... only
  if the applicant has made a substantial showing of the denial of a
  constitutional    right.”    See   28    U.S.C.    §2253(c)(2).        To   make   a
  substantial showing of the denial of a constitutional right, a
  §2255 movant must demonstrate “that reasonable jurists could debate
  whether (or, for that matter, agree that) the petition should have
  been resolved in a different manner or that the issues presented
  were   adequate   to   deserve     encouragement       to    proceed    further.”
  Miller–El v. Cockrell, 537 U.S. 322, 336-37 (2003) (citations and
  quotation marks omitted); see also Slack v. McDaniel, 529 U.S. 473,
  484 (2000); Eagle v. Linahan, 279 F.3d 926, 935 (11th Cir. 2001).



         After review of the record in this case, the Court finds the
  movant    has   not    demonstrated      that     he   has     been     denied     a
  constitutional right or that the issue is reasonably debatable. See
  Slack, 529 U.S. at 485; Edwards v. United States, 114 F.3d 1083,
  1084 (11th Cir. 1997).      Consequently, issuance of a certificate of
  appealability is not warranted and should be denied in this case.
  Notwithstanding, if       movant does not agree, he may bring this


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  argument to the attention of the district judge in objections.


                                V.   Conclusion


        For all of the foregoing reasons, this 2016 proceeding should
  be dismissed as follows: (1) as a Rule 60 motion, the movant has
  not demonstrated that a fundamental defect in the initial §2255
  proceeding (case no. 14-20072-Civ-King) warrants vacatur of the
  judgment     entered     therein     and      reconsideration     of     the
  constitutionality of his convictions and sentences in criminal case
  no. 09-20264-Civ-King; and, (2) as a second §2255 motion to vacate,
  that it be dismissed for lack of jurisdiction, as an unauthorized
  successive §2255 motion to vacate because movant has not obtained
  certification required by 28 U.S.C. §2244 (b)(3)(A) from the
  Eleventh Circuit Court of Appeals. It is further recommended that
  all pending motions, not otherwise ruled upon be dismissed as moot,
  that no certificate of appealability issue, and that this case be
  closed.


        Objections to this report may be filed with the District Judge
  within fourteen days of receipt of a copy of the report.


        SIGNED this 22nd day of November, 2016.




                                             UNITED STATES MAGISTRATE JUDGE

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